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         UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                                     DCO-092
                                           No. 25-8018

                        THOMPSON REUTERS CENTRE GMBH;
                            WEST PUBLISHING HOUSE

                                                  v.

                             ROSS INTELLIGENCE INC,
                                     Petitioner

                              (D. Del. No. 1:20-cv-00613)

  Present: PHIPPS, CHUNG, and SMITH, Circuit Judges

        1.    Petition for Permission to Appeal under 28 U.S.C. § 1292(b) filed by Ross
              Intelligence Inc.;

        2.    Addendum to Petition for Permission to Appeal;

        3.    Response by Respondents in Opposition to Petition for Permission to
              Appeal; and

        4.    Motion by Professor Brian L. Frye for Leave to file Amicus Brief in
              Support of Petition for Petition for Certification.

                                                                 Respectfully,
                                                                 Clerk/sb

  _________________________________ORDER________________________________
  The foregoing are considered. The petition for permission to appeal under 28 U.S.C.
  § 1292(b) is GRANTED. The motion for leave to file amicus brief is GRANTED.

                                                                 By the Court,

                                                                 s/ Cindy K. Chung
                                                                 Circuit Judge
  Dated: June 17, 2025
  Sb/cc: All Counsel of Record



                                 A True Copy:



                                 Patricia S. Dodszuweit, Clerk
